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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

 LADY MAAKIA CHARLENE SMITH,                          )
 personal representative of the Estate of BILAL       )
 HASANIE HILL, deceased,                              )
                                                      )
                             Plaintiff,               )
                                                      )
 v.                                                   )
                                                      )      Case No. 4:20-CV-00804-JMB
 ADVANCED CORRECTIONAL                                )
 HEALTHCARE, INC.; DR. ARTHUR                         )
 BENTLEY, Individually and in His Official            )
 Capacity as a Medical Services Provider at           )
 Phelps County; DIONNE KELLEY; KELLY                  )
 RATCLIFF, LIEUTENANT JOE TAYLOR;                     )
 DR. TRAVIS SCHAMBER,                                 )
                                                      )
                             Defendants.              )

         PLAINTIFF’S MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS,
                       AND POST-JUDGMENT INTEREST

        COMES NOW plaintiff Lady Maakia Charlene Smith (“Plaintiff”), by and through her

undersigned counsel, and hereby submits this Motion for Attorneys’ Fees pursuant to the Federal

Rules of Civil Procedure, Rules 54(d)(1) and (2), Local Rules of Court 8.02 and 8.03, 42 U.S.C.

§§ 1983 and 1988, et seq., Litigation Costs and Expenses pursuant to 28 U.S.C. §§ 1920 et seq.

and demands reasonable attorneys’ fees in the amount of $1,595,544.40 plus reasonable costs and

expenses in the amount of $63,323.06.

        Finally, pursuant to 28 U.S.C. §§ 1961 et seq., Plaintiff demands post-judgment interest at

a rate of 2.11% until the fees and costs are paid in full.

        Submitted contemporaneously with this motion is Plaintiff’s Memorandum in Support of

this Motion and supporting documentation, including but not limited to Plaintiff’s expert’s

affidavit concerning the reasonableness of fees.


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        WHEREFORE, Plaintiff respectfully requests the aforementioned attorneys’ fees, costs,

and post-judgment interest be awarded to Plaintiff. Plaintiff further requests such other and further

relief as this Court deems just and proper.



Date: June 16, 2022                           Respectfully Submitted,

                                               /s/ Charles C. Eblen
                                              Charles C. Eblen, #55166
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                                CERTIFICATE OF SERVICE

        I certify that on June 16, 2022, a copy of PLAINTIFF’S MOTION FOR AWARD OF

ATTORNEYS’ FEES, COSTS, AND POST-JUDGMENT INTEREST was filed via the

Court’s CM/ECF system, which generated a notice of electronic filing with links to true and correct

copies of the foregoing document for service upon the following counsel of record:



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 DIONNE KELLEY, AND ADVANCED CORRECTIONAL HEALTHCARE, INC.




                                             /s/ Charles C. Eblen
                                             Charles C. Eblen




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